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                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

Mark Sullivan,

       Plaintiff,                                Case No. 2:23-cv-3174

       V.                                        Judge Michael H. Watson

The Ohio State University, etal.,                 Magistrate Judge Jolson

       Defendants.

                                OPINION AND ORDER

       Anil Makhija, Robert Lount ("Lount"), Bennett Tepper, Jennifer McLendon,

and William Watercutter (collectively, "Defendants") move to dismiss Mark

Sullivan's ("Plaintiff") Complaint. ECF No. 38. For the following reasons, the

motion is GRANTED.

                                     I.      FACTS1

       Starting in 2015, Plaintiff was a senior lecturer at The Ohio State University

Max M. Fisher College of Business (the "Business School"). Sec. Am. Compl.

If 15, EOF No. 36. In the Fall 2021 semester, Plaintiff taught a course called

"Crucial Conversations" (the "Course") which is designed to teach students how

to manage difficult conversations and disagreements. Id. 1HJ 19-21. In

September 2021, a student reported Plaintiffs speech as racially insensitive and
offensive, including some of Plaintiffs course and lecture content (the "Speech").


1 The Court accepts Plaintiff's factual allegations as true for the purposes of Defendants'
motion. Wamer v. Univ. of Toledo, 27 F. 4th 461, 466 (6th Cir. 2022) (citation omitted).
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 Id. If 25. Later that month, Lount, who was the chair of the "Department of

Management and Human Resources, " told Plaintiffthat the Business School was

required to investigate the Speech (the "Investigation"). Id.^ 26. In February

2022, Lount told Plaintiff that the Business School would not renew Plaintiffs

employment contract. Id. ^ 27.

       Based on these facts, Plaintiff alleges that Defendants violated his rights

under the First Amendment.       Id. ^33-59.

                           II.    STANDARD OF REVIEW
       A claim survives a motion to dismiss under Rule 12(b)(6) if it "contain[s]

sufficient factual matter, accepted as true, to 'state a claim to relief that is

plausible on its face. '" Ashcroft v. Iqbal, 556 U. S. 662, 678 (2009) (quoting Bell

Ati. Corp. v. Twombly, 550 U. S. 544, 570 (2007)). "The plausibility standard is

not akin to a 'probability requirement, ' but it asks for more than a sheer possibility

that a defendant has acted unlawfully. " Id. (quoting Twombly, 550 U. S. at 556).

This standard "calls for enough fact to raise a reasonable expectation that

discovery will reveal evidence of [unlawful conduct]. " Twombly, 550 U. S. at 556.

A pleading's "[fjactual allegations must be enough to raise a right to relief above

the speculative level, on the assumption that all the allegations in the complaint

are true (even if doubtful in fact). " Id. at 555 (internal citations omitted). At the

motion-to-dismiss stage, a district court must "construe the complaint in the light

most favorable to the plaintiff, accept its allegations as true, and draw all

reasonable inferences in favor of the plaintiff. " Wamer, 27 F.4th 461, 466 (6th


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Cir. 2022) (internal quotation marks and citations omitted). However, the non-

moving party must provide "more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do. " Twombly, 550 U. S. at

555.

                                   III.   ANALYSIS

       Defendants move to dismiss Plaintiffs claims. Mot., ECF No. 38.

Although Plaintiff purports to bring two types of First Amendment claims, both

claims are First Amendment retaliation claims. Sec. Am. Compl. ^ 33-59, ECF

No. 36. That is, in both claims, Plaintiff alleges Defendants retaliated against him

for the Speech. Id. ; see id. If 51 (alleging that Defendants engaged in viewpoint

discrimination when "by retaliating against Plaintiff for expressing educational

and instructional speech").

       To state a claim for First Amendment retaliation, a plaintiff must allege:

       (1) the plaintiff engaged in constitutionally protected conduct; (2) an
       adverse action was taken against the plaintiff that would deter a
       person of ordinary firmness from continuing to engage in that conduct;
       and \\ (3) the adverse action was motivated at least in part by the
       plaintiffs protected conduct.

Fritz v. Charter Twp. ofComstock, 592 F. 3d 718, 723 (6th Cir. 2010).

       Plaintiff fails to state a claim against Defendants. Plaintiff alleges, at least

arguably, that he engaged in protected conduct (the Speech)2, suffered an


2 Defendants argue that the Speech is not protected conduct, relying on the Garcetti
doctrine. Mot. 8-10, ECF No. 38. Because the Court concludes that Plaintifffails to
state a claim for other reasons, it need not decide whether the Speech is protected
conduct.


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adverse action (the non-renewal)3, and that Defendants participated in that

adverse action. Sec. Am. Compl. IHf 5, 19-27, ECF No. 36. But Plaintiff does

not plausibly allege that the Speech motivated Defendants to not renew Plaintiffs
contract.

       In support of causation, Plaintiff first alleges that about five months passed

from the Speech to his non-renewal (or, at least when Plaintiff was told of the

non-renewal; Plaintiff offers no allegations about when the decision to not renew

happened). See Taylor v. Ross, No. 2:17-CV-85, 2019 WL 2256822, at *3 (W. D.
Mich. Jan. 23, 2019), report and recommendation adopted sub nom. Taylor v.

Woods, No. 2:17-CV-85, 2019 WL 1146690 (W. D. Mich. Mar. 13, 2019) ("The

Sixth Circuit has held that a temporal proximity of 'two to five months' between

protected conduct and adverse action is insufficient to satisfy the causation

element on its own. " (quotation marks and citation omitted)); cf. Benison v. Ross,

765 F. 3d 649, 661 (6th Cir. 2014) ("[A] lag time of more than six months between

protected conduct and an adverse action does not permit a strong causal

inference. ").




3 To the extent that Plaintiff argues that the Investigation was an adverse action, he
does not state a claim based on the same. Even assuming the Investigation could be
an adverse action, Plaintiff offers only a generalized, conclusory allegation that
Defendants "subjected him" to the Investigation. Sec. Am. Compl. If 30, ECF No. 36.
Plaintiff offers no factual allegations to support this conclusory allegation and does not
allege what role, if any, each Defendant played in the Investigation. See generally, id.
These conclusory allegations do not plausibly allege that Defendants used the
Investigation to retaliate against Plaintiff for the Speech.

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       The only other non-conclusory allegation that might go to causation is that

Defendants knew about the protected conduct. See, e. g.. Sec. Am. Compl.

^ 26, 45 ECF No. 36. However, the mere fact that Defendants knew about the

speech is not enough to plausibly allege that, when Defendants approved

Plaintiff's nonrenewal several months after the Speech, they did so because of

the Speech. Cf. Hillman v. Shelby Cnty., No. 05-2052-STA-TMP, 2012 WL

1014979, at *12 (W. D. Tenn. Mar. 23, 2012), aff'd, 515 F. App'x 365 (6th Cir.

2013) (explaining, in a Title VII case, that "mere knowledge [of protected

conduct], without more, would be insufficient to satisfy Plaintiff's causation

burden"). Accordingly, Plaintiff fails to state a claim against Defendants.




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                                 IV.   CONCLUSION
       For these reasons, Defendants' motion is GRANTED. Plaintiff's claims

 against Defendants are DISMISSED WITHOUT PREJUDICE. Plaintiff is

 ORDERED to show cause WITHIN FOURTEEN DAYS why the claims against

 "Unknown University Personnel 1-5" should not be dismissed for the reasons

outlined in this Opinion and Order.

       If Plaintiff can fix the deficiencies outlined in this Opinion and Order,

Plaintiff may file a Third Amended Complaint WITHIN TWENT^-ONE DAYS.
That said. Plaintiff is CAUTIONED that, as he has already filed three Complaints,

this opportunity to amend will be his last. The Third Amended Complaint must

allege, in detail, the content of the Speech.

      The Clerk shall terminate ECF No. 38.

       IT IS SO ORDERED.


                                        M       AELH. WATSO , JUDGE
                                        UNITED STATES DISTRICT COURT




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